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IN THE UNITED STATES DISTRICT COURT

FoR THE wESTERN DISTRICT oF TENNESSEE c l
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WILLIAM S. PRIDDY,
Plaintiff,

vs. Civ. No. 03-2664-D[P

FEDERAL EXPRESS CORP., et al.,

Defendants.

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ORDER DENYING AS MOOT MOVANT'S MOTION TO QUASH DEPOSITION
SUBPOENA FOR SHANNON BROWN - A NON-PARTY

 

Preeently before the court is Movant'e Motion to Quaeh
Deposition Subpoena for Shannon Brown - A Non-Party, filed on June
17, 2005 (dkt. #40). By letter dated June 20, 2005, movant’s
attorney informed the court that the issue has been resolved. On

that basie, the motion is DENIED as MOOT.

IT IS SO ORDERED. /;§;LC;BQLJ`__`

TU M. PHAM
United StateS Magietrate Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:03-CV-02664 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

